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Proposed Counsel for the Debtors and
Debtors in Possession
                       UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                    )
    In re:                                                          ) Chapter 11
                                                                    )
    GVS TEXAS HOLDINGS I, LLC, et al. 1                             ) Case Nos. 21-31121-MVL
                                                                    )
                            Debtors.                                ) (Jointly Administered)
                                                                    )

                   PERIODIC REPORT REGARDING VALUE,
         OPERATIONS, AND PROFITABILITY OF ENTITIES IN WHICH THE
      DEBTORS’ ESTATES HOLD A SUBSTANTIAL OR CONTROLLING INTEREST




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: GVS Texas Holdings I, LLC (7458); GVS Texas Holdings II, LLC (1225); GVS
Portfolio I, LLC (6441); GVS Portfolio I B, LLC (7171); GVS Portfolio I C, LLC (3093); WC Mississippi Storage
Portfolio I, LLC (0423); GVS Nevada Holdings I, LLC (4849); GVS Ohio Holdings I, LLC (6449); GVS Missouri
Holdings I, LLC (5452); GVS New York Holdings I, LLC (5858); GVS Indiana Holdings I, LLC (3929); GVS
Tennessee Holdings I, LLC (5909); GVS Ohio Holdings II, LLC (2376); GVS Illinois Holdings I, LLC (9944); and
GVS Colorado Holdings I, LLC (0408). The location of the Debtors’ service address is: 814 Lavaca Street, Austin,
Texas 78701.
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        This is the report as of July 19, 2021 on the value, operations, and profitability of those

entities in which the estate holds a substantial or controlling interest, as required by Bankruptcy

Rule 2015.3. The estates of GVS Texas Holdings I, LLC and its affiliates and parents, as debtors

and debtors in possession (the “Debtors”) hold a substantial or controlling interest in the following

entities:

 Name of Entity                    Interest of the Estate             Tab #
 None                              None                               None

        This periodic report (the “Periodic Report”) contains separate reports (“Entity Reports”)

on the value, operations, and profitability of each entity listed above.

        Each Entity Report shall consist of three exhibits. Exhibit A contains a valuation estimate

for the entity as of a date not more than two years prior to the date of this report. It also contains

a description of the valuation method used. Exhibit B contains a balance sheet, a statement of

income (loss), a statement of cash flows, and a statement of changes in shareholders’ or partners’

equity (deficit) for the period covered by the Entity Report, along with summarized footnotes.

Exhibit C contains a description of the entity’s business operations. Because the Debtors do not

hold a substantial or controlling interest in any entities, there are no exhibits to provide.

   THIS REPORT MUST BE SIGNED BY A REPRESENTATIVE OF THE TRUSTEE OR

                                    DEBTOR IN POSSESSION.

        The undersigned, having reviewed the above listing of entities in which the estates of the

Debtors hold a substantial or controlling interest, and being familiar with the Debtors’ financial

affairs, verifies under penalty of perjury that the listing is complete, accurate, and truthful to the

best of his/her knowledge.
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Dated: July 19, 2021

                                            /s/ Natin Paul __________________
                                            By: Natin Paul
                                            Title: President
